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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER PROVIDING DIAL-IN
13     v.                                                  INFORMATION FOR STATUS
                                                           CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           For the September 7, 2018 status conference, the dial-in number for any counsel who
19     wish only to listen in and members of the news media that wish to attend is as follows.
20           1.     Dial the toll free number: 877-411-9748;
21           2.     Enter the Access Code: 6246317 (Participants will be put on hold until the
22                  Court activates the conference call);
23           3.     Enter the Participant Security Code 09070428 and Press # (The security code
24                  will be confirmed);
25           4.     Once the Security Code is confirmed, participants will be prompted to Press
26                  1 to join the conference or Press 2 to re-enter the Security Code.
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 1     Members of the general public may attend in person. All persons dialing in to the
 2     conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
 3     proceedings.
 4     Dated: September 6, 2018
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